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 7   Attorneys for Stephen A. Finn

 8
                                UNITED STATES BANKRUPTCY COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                    SANTA ROSA DIVISION

11

12   In re                                         Case No. 17-10065-RLE

13   SVC,                                          CHAPTER 11
14                          Debtor.
                                                   STATEMENT BY STEPHEN A. FINN
                                                   REGARDING CASE STATUS
15
                                                   Hearing:   October 22, 2019
16                                                 Time:      1:30 p.m.
                                                   Place:     1300 Clay Street, Room 201
17                                                            Oakland CA 94612
                                                   Judge:     Hon. Roger L. Efremsky
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20   TO THE HONORABLE ROGER L. EFREMSKY, UNITED STATES BANKRUPTCY

21   JUDGE:

22            Creditor Stephen A. Finn (“Finn”), through undersigned counsel, submits this Case Status

23   Statement (the “Statement”), and in support hereof respectfully represents as follows:

24         A. Plan Objection

25            1.     On August 20, 2019, Ross and Kelleen Sullivan (the “Sullivans”) filed their

26   Combined Plan and Disclosure Statement Proposed by Sullivan Family (the “Plan”) [Docket No.

27   ///

28   ///


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                                                                                              4840-6769-9369.v1
 1   462]. The Plan was originally set for hearing on September 24, 2019 and subsequently continued to

 2   October 22, 2019. Any objection or opposition to the Plan was to be filed by October 15, 2019 (the

 3   “Plan Objection Deadline”).

 4            2.    Finn believes that the Plan, as filed, is objectionable for a variety of reasons, including

 5   the incurable conflicts created by the proposed Plan structure. Accordingly, Finn intended to file a

 6   fulsome objection to the Plan. Before incurring the additional expense required to prepare such an

 7   objection, counsel to Finn reached out to the Sullivans’ counsel to make sure the Sullivans intended

 8   to go forward with the Plan as currently filed. The Sullivans’ counsel stated in and email that they

 9   would not be going forward with the Plan as filed and that there was no need to prepare an objection.

10   As of the time of this Statement, the Sullivans have not filed anything with this Court indicating they

11   will be withdrawing the Plan. Nonetheless, Finn relies on Mr. Fiero’s representation that the

12   Sullivans will not be going forward with the Plan and will not be filing an objection to the Plan.

13         B. District Court Case Update

14            3.    The Sullivans and Finn and Trust Company of America are parties to Case No. 3:17-

15   cv-05799 in the United States District Court for the Northern District of California (the “District

16   Court Case”). As this Court is aware, the District Court Case has been ongoing for over two years.
17   On June 12, 2019, Finn filed a Motion for Judgment on the Pleadings (the “First Motion”) [District
18   Court Case Docket No. 50]. On June 26, 2019, the Sullivans filed their opposition to the First Motion
19   [District Court Case Docket No. 55]. After a hearing on the First Motion, the District Court entered
20   an Order dismissing the Sullivans’ complaint (the “Complaint”) with leave to amend [District Court
21   Docket No. 60].
22            4.    The Sullivans filed their amended complaint (the “First Amended Complaint”) on
23   September 26, 2019 [District Court Docket No. 68]. The First Amended Complaint did not materially
24   differ from the Complaint. Finn filed a second Motion for Judgment on the Pleadings (the “Second
25   ///
26   ///
27   ///
28   ///
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 1   Motion”) on October 10, 2019. The hearing is set on November 20.

 2   Dated: October 15, 2019

 3                                         By      /s/ Philip S. Warden
                                                 Philip S. Warden
 4

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